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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JESSE WARD,

                            Plaintiff,                          ORDER

              - against -                                  18 Civ. 7268 (PGG)

 COMPOUND ENTERTAINMENT LLC,

                            Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

               On July 31, 2020, this Court adopted Judge Moses’ Report & Recommendation

and awarded Plaintiff $2,500 in statutory damages and $3,025 in attorney’s fees and costs under

the Digital Millennium Copyright Act. Accordingly, the Clerk of the Court is directed to enter

judgment for Plaintiff and to close this case.

Dated: New York, New York
       October 16, 2020




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